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In the Anited States Court of Federal Clare»

 

No. 13-811
(Filed: January 9, 2014) JAN 9 2014
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KENNETH WAYNE LEAMING, *
* Prisoner suit; In Forma Pauperis;
Plaintiff, * 28 U.S.C. § 1915A (2012)
v. *
*
THE UNITED STATES, *
*
Defendant. *

JCI toi dai tok kok dodo dak de dee qejok dak k

Kenneth Wayne Leaming, Terre Haute, IN, pro se.

Christopher J. Carney, United States Department of Justice, Washington, D.C., for defendant.

ORDER
SWEENEY, Judge

On October 17, 2013, plaintiff, currently incarcerated in federal prison and appearing pro
se, filed a complaint and an application to proceed in forma pauperis. When the court receives a
complaint from a prisoner, it is obligated to screen the complaint and then, if the complaint is
frivolous, malicious, or fails to state a claim upon which relief may be granted, dismiss the suit.'

 

! After review of plaintiff's complaint, the court finds it is frivolous. To begin, the
complaint is filed outside the six-month limitation period, if plaintiff is requesting the court to
review the Administrative Office of the United States Courts’ (““AOUSC”) decision. See
Compl., Ex. A. Additionally, because it is an Article I court, the United States Court of Federal
Claims is not a federal district court; therefore, the court lacks jurisdiction to review the AOUSC
decision for a second reason. See Ledford v. United States, 297 F.3d 1378, 1382 (Fed. Cir.
2002) (per curium); Alford v. United States, 3 Cl. Ct. 229, 230 (1983); see also 28 U.S.C. § 451
(2012) (defining “district court” as those courts described in chapter 5 of Title 28 of the United
States Code). Furthermore, this court lacks jurisdiction over claims arising under the Due
Process Clauses of the Fifth and Fourteenth Amendments to the United States Constitution
because neither clause is money-mandating. LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed.
Cir. 1995) (“[T]he Due Process Clauses of the Fifth and Fourteenth Amendments . . . [are not] a
sufficient basis for jurisdiction because they do not mandate payment of money by the
government.”); Mullenberg v. United States, 857 F.2d 770, 773 (Fed. Cir. 1988) (holding that the

 

 

 
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See 28 U.S.C. § 1915A (2012). Ifa prisoner has filed three or more suits or appeals that were
dismissed as frivolous, malicious, or failing to state a claim upon which relief may be granted, he
is barred from initiating further suits or appeals without first paying the filing fee, unless he is
“under imminent danger of serious physical injury.”’ Id. § 1915(g). This is often referred to as
the three-strikes rule.

The court’s review of the suits previously filed by plaintiff in federal court reveals he has
two suits, and including at least one appeal, that were dismissed under 28 U.S.C. § 1915A as
frivolous or for failure to state a claim upon which relief could be granted. See,, Leaming v.
Obama, 13-cy-01483 (D.D.C.) (dismissed on September 26, 2013, for failure to state a claim
under 28 U.S.C. § 1915A(b)); Leaming v. Obama, 13-cv-01485 (D.D.C.) (dismissed on
September 26, 2013, for failure to state a claim under 28 U.S.C. § 1915A(b)); Stephenson, et al.
v. Holder, 12-cv-35879 (9th Cir.) (dismissed on July 17, 2013 for failure to pay fees under Ninth

 

Due Process Clauses of the Fifth and Fourteenth Amendments “do not trigger Tucker Act
jurisdiction in the courts”). The court also lacks jurisdiction to entertain claims based on 42
U.S.C. §§ 1981 and 1985 (2012). See Marlin v. United States, 63 Fed. Cl. 475, 476 (2005)
(“[T]he Court does not have jurisdiction to consider civil rights claims brought pursuant to 42
U.S.C. §§ 1981, 1983, or 1985 because jurisdiction over claims arising under the Civil Rights
Act resides exclusively in the district courts.”). And, because a writ of habeas corpus may only
“be granted by the Supreme Court, any justice thereof, the district courts and any circuit judge
within their respective jurisdictions,” 28 U.S.C. § 2241(a), the Court of Federal Claims is not
empowered to entertain habeas petitions. See Ledford, 297 F.3d 1381. Moreover, the court
lacks the authority to review a district court’s decision denying a habeas petition; that authority
lies with the federal courts of appeal. See generally U.S. Bancorp Morte. Co. v. Bonner Mall
P’ship, 513 U.S. 18, 27 (1994) (“Congress has prescribed a primary route, by appeal as of right
and certiorari, through which parties may seek relief from the legal consequences of judicial
judgments. To allow a party who steps off the statutory path to employ . . . [a] collateral attack
on the judgment would—quite apart from any considerations of fairness to. the parties--disturb the
orderly operation of the federal judicial system.”’); Joshua v. United States, 17 F.3d 378, 380
(Fed. Cir. 1994) (“[T]he Court of Federal Claims does not have jurisdiction to review the
decisions of district courts. . . relating to proceedings before those courts.”).

* Specifically, the three-strikes rule provides:

In no event shall a prisoner bring a civil action or appeal a judgment in a civil
action or proceeding under this section if the prisoner has, on 3 or more prior
occasions, while incarcerated or detained in any facility, brought an action or
appeal in a court of the United States that was dismissed on the grounds that it is
frivolous, malicious, or fails to state a claim upon which relief may be granted,
unless the prisoner is under imminent danger of serious physical injury.

28 U.S.C. § 1915(g).

 
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Circuit Rule 42-1 after finding the appeal frivolous). Because plaintiff has accumulated at least
three strikes under 28 U.S.C. § 1915A, and has not alleged that he is “under imminent danger of
serious physical injury,” 28 U.S.C. § 1915(g), he may not proceed in this case without first
paying the court’s filing fee.

Accordingly, if plaintiff wishes to pursue his claims in this court, he must pay the court’s
filing fee. If plaintiff does net pay the filing fee by Monday, February 10, 2014, the clerk shall,
without further order of the court, dismiss his complaint without prejudice for failure to pay the
filing fee. Briefing is suspended pending further order of this court.

IT IS SO ORDERED.

MAkG ARE TM. SWEPAI EY
Judge

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